






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00360-CV






Gordon Ridley, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 146TH JUDICIAL DISTRICT

NO. 214,156-B, HONORABLE RICK MORRIS, JUDGE PRESIDING



						

M E M O R A N D U M   O P I N I O N




	On May 28, 2008, Gordon Ridley, acting pro se, filed a notice of appeal from a
district court order of forfeiture entered on December 29, 2005.  See Tex. Code Crim. Proc. Ann.
arts. 59.01-.14 (West 2006 &amp; Supp. 2008).  Ridley's 2008 notice of appeal from the 2005 order
was&nbsp;untimely.  See Tex. R. App. P. 26.1. (1)  This Court requested a written response demonstrating
our&nbsp;jurisdiction over this appeal.  Ridley's response did not demonstrate this Court's jurisdiction. 



Accordingly, we dismiss the appeal for want of jurisdiction.  Tex. R. App. P. 42.3(a); see Verburgt
v. Dorner, 959 S.W.2d 615, 617 (Tex. 1997).



					                                                                                    

					W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed for Want of Jurisdiction

Filed:   September 18, 2008
1.   Ridley's notice of appeal is untimely, even if it were considered an attempted restricted
appeal, because the notice of appeal was not filed within six months after the judgment was signed.
See Tex. R. Civ. P. 26.1(c).  Ridley's response argues that the 2005 order was entered without
his&nbsp;knowledge.  But the civil procedure rule that allows the extension of certain deadlines when
a&nbsp;party proves late notice of judgment does not extend the time for perfecting a restricted appeal. 
Tex. R. App. P. 4.2(a)(2); Tex. R. Civ. P. 306a.


